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AO 91 (Rev. 08/09) Criminal Complaint

UNITED STATES DISTRICT COURT

for the
Southern District of Texas

United States of America

 

)
Alma Rosa Salinas )
YOB: 1990 Citizenship: United States _ CaseNo. M-14- \360-M
| )
) .
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best ofimy knowledge and belief.

 

 

On or about the date(s) of _ August 07, 2019 in the county of Hidalgo in the
Southern District of Texas , the defendant(s) violated:
Code Section | Offense Description
21 U.S.C. § 841 Possession with Intent to distribute methamphetamine

21U.8.C. §952 Illegal Importation of methamphetamine

This criminal complaint is based on these facts:
On August 07, 2019, Alma Rosa Salinas was detained attempting to enter the United States through the Los Ebanos,
Texas Port of Entry with approximately 65.62 kilograms of methamphetamine concealed in the gasoline tank of the vehicle

she was driving.
SEE ATTACHMENT "A"

¥ Continued on the attached sheet.

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On §[% [2014 .

 

Edgard Reynoso, HSI TFO ‘

Printed name and title

Sworn to before me and signed in my presence.

 

Date: 9/8/2019 - §- 34a,
. LC’ —— Judge’s signature

City and state: McAllen, Texas U.S. Magistrate Judge Juan F. Alanis
Printed name and title
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Attachment “A” ©

I, Edgard Reynoso, am a Task Force Officer with United States Homeland Security Investigations
(HSI) and have knowledge of the following facts. The facts related in this attachment do not reflect
the totality of information known to me or other agents/officers, merely the amount needed to
establish probable cause. I do not rely upon facts not set forth herein in reaching my conclusion
that a complaint should be issued, nor do I request that this Court rely upon any facts not set forth
herein in reviewing this attachment in support of the complaint.

1. On August 07, 2019, Homeland Security Investigations in McAllen, Texas, (HSI McAllen)
received a request for investigative assistance from the U.S. Customs and Border Protection
(CBP) Office of Field Operations at the Los Ebanos Port of Entry (POE) in‘Los Ebanos, Texas.
CBP Officers (CBPOs) detained Alma Rosa SALINAS (hereinafter SALINAS), a United
States citizen, while attempting to enter the U.S. with approximately 65.62 (kg) of
methamphetamine concealed within the gasoline tank of a 1996 Ford F-150 which she was
driving.

2. During primary inbound inspection, CBP Officers (CBPOs) obtained a negative written

_ declaration for fruits, food, alcohol, tobacco, drugs, weapons and currency over $10,000.00.
SALINAS stated that she lived in Diaz Ordaz, Mexico and was going to Rio Grande City,
Texas to work as a provider. SALINAS stated that she had borrowed the vehicle from her uncle
because her vehicle had overheated. CBPO queried the vehicle yielding a system generated
alert for further inspection. SALINAS was referred to secondary inspection.

3. During secondary inspection, CBPO’s conducted scope inspection in the gasoline tank and
noticed anomalies with in the tank. CBPOs field tested the crystal substance inside the tank,
which was presumptive positive for the characteristics of methamphetamine.

4. ACBPK-9 narcotics detection team conducted a free air inspection which resulted in a positive
alert for the odor of controlled substance(s) emanating from the gasoline tank area of the
vehicle.

5. The vehicle gasoline tank was removed from the vehicle. The liquid was extracted from the
tank placed in plastic containers and weighed approximately 65.62 kilograms.

6. Homeland Security Investigations (HSI, Special Agents (SA) and Task Force Officers |
résponded to the Los Ebanos POE to assist in the investigation. The HSI Task Force Officers
interviewed SALINAS, she stated that her vehicle had overheated prior to crossing the bridge
into the United States. She stated that a lady stopped to assist her and drove her to Diana’s
Pharmacy where she then walked a couple of blocks to her cousin’s house to borrow the
vehicle. She then made entry into the US. SALINAS stated that the vehicle belonged to her
uncle, but her cousin is the one that lent her the vehicle. During the interview, SALINAS
provided several inconsistent statements.
